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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division

JOSEPH DRAEGO,                                )
                                              )
                Plaintiff,                    )
                                              )
v.                                            )              Civil Action No.: 3:20-cv-37
                                              )
RASHALL M. BRACKNEY, et al.,                  )
                                              )
                Defendants.                   )


                                      ROSEBORO NOTICE

        Pursuant to the requirements of Roseboro v. Garrison, 528 F.2d 309 (4th Cir. 1975), the

following notice advises the pro se plaintiff, Joseph Draego, that:

     1) He is entitled to file a legal response opposing Defendant Joseph Platania’s Motion to

        Dismiss. Therein, he must identify all facts stated by the Defendant with which he

        disagrees. Any such response must be filed within fourteen (14) days of the date on

        which this motion was filed; and

     2) The Court could dismiss this action on the basis of the Defendant’s moving papers if

        plaintiff does not file a response.
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                                  Respectfully submitted,

                                  /s/ __________________________
                                  A. Anne Lloyd (VSB No. 79105)
                                  Assistant Attorney General
                                  Blaire Hawkins O’Brien (VSB No. 83961)
                                  Assistant Attorney General
                                  Office of the Attorney General
                                  202 North 9th Street
                                  Richmond, Virginia 23219
                                  Telephone: (804) 786-5315
                                  Telephone: (804) 371-0977
                                  Facsimile: (804) 371-2087
                                  Email: alloyd@oag.state.va.us
                                  Email: bo’brien@oag.state.va.us

                                  Counsel for Defendant Joseph D. Platania


Mark R. Herring
Attorney General of Virginia

Victoria N. Pearson
Samuel T. Towell
Deputy Attorneys General
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 4, 2020, copies of the foregoing were served on the pro se

party of record, via UPS, postage prepaid, at the address listed below, and were sent by email to

all parties by operation of the Court’s electronic filing system. Parties may access this filing

through the Court’s CM/ECF System.

                                          Joseph Draego
                                        730 Montei Drive
                                      Earlysville, VA 22936

                                              Respectfully submitted,

                                              /s/ __________________________
                                              A. Anne Lloyd (VSB No. 79105)
                                              Assistant Attorney General
                                              Blaire Hawkins O’Brien (VSB No. 83961)
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                                              Office of the Attorney General
                                              202 North 9th Street
                                              Richmond, Virginia 23219
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                                              Telephone: (804) 371-0977
                                              Facsimile: (804) 371-2087
                                              Email: alloyd@oag.state.va.us
                                              Email: bo’brien@oag.state.va.us

                                              Counsel for Defendant Joseph D. Platania
